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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     DJENEBA SIDIBE, et al.,                             Case No. 12-cv-04854-LB
                                  12                    Plaintiffs,
Northern District of California
 United States District Court




                                                                                             ORDER
                                  13             v.

                                  14     SUTTER HEALTH, et al.,
                                  15                    Defendants.

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                                  17      The court has reviewed the parties’ filings on the alleged conflicts issue. Based on the filings,

                                  18   the court’s customary onboarding process for clerks that entails vetting for conflicts, and the

                                  19   court’s actual vetting for conflicts involving this case, this order confirms that the former law clerk

                                  20   did not have a conflict. No conflict can be attributed to the court based on the court’s informed

                                  21   decision to permit the clerk to work on the case.

                                  22      IT IS SO ORDERED.

                                  23      Dated: February 1, 2022                       _                     ____________________
                                                                                        LAUREL BEELER
                                  24                                                    United States Magistrate Judge
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                                       ORDER – No. 12-cv-04854-LB
